Case 2:13-cv-00352-JES-CM Document 23 Filed 07/11/13 Page 1 of 11 PagelD 178

cH on

‘

UNITED STATES DISTRICT COURT /
MIDDLE DISTRICT OF FLORIDA 72/)) JUL 1! P! 3:47
FORT MYERS DIVISION

AMERICAN REGISTRY, LLC,
a Delaware limited liability company,

Plaintiff
aintiff Case No. 2:13-cv-00352-JES-SPC

v.
YONAH HANAW a/k/a JOHN HANAW,
MICHAEL LEVY, SHOWMARK
HOLDINGS, LLC, a Delaware limited
liability company, and SHOWMARK
MEDIA, LLC, a Delaware limited liability
company,

Defendants

DEFENDANTS YONAH HANAW, SHOWMARK HOLDINGS, LLC, AND
SHOWMARK MEDIA, LLC’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINTAND INCORPORATED MEMORANDUM OF LAW

Defendants Yonah Hanaw (“Hanaw’’). Showmark Holdings, LLC, and Showmark Media,
LLC, (*Showmark”) hereby move to dismiss Plaintiff's Second Amended Complaint
(“Complaint”) for failure to state a claim and failure to meet the applicable pleading standard.

INTRODUCTION

American Registry makes award plaques. They sell these plaques by soliciting
prospective customers who recently have been recognized for some type of achievement. Hanaw
worked as a sales agent for American Registry until he was terminated on March 26, 2010.
Following his termination from American Registry, Hanaw and Michael Levy launched a
competing venture, Showmark Media, LLC. According to the Plaintiff, Hanaw, Levy and the

Showmark entities have misappropriated American Registry’s confidential and proprietary
Case 2:13-cv-00352-JES-CM Document 23 Filed 07/11/13 Page 2 of 11 PagelD 179

information and are now unfairly using that confidential and proprietary information to compete
for customers in the same market. '

Although twenty-three pages long, the Complaint offers few specific facts beyond those
contained in the above summary. It is unclear what allegedly confidential information
Defendants are using and what alleged trade secrets Defendants have misappropriated. The
Complaint defines the confidential information and trade secrets as including customer
information, sales and operations procedures, financial data, software, marketing strategies,
statistics, product information and more. Complaint at § 22. This is not a list of trade secrets.
This is a list of different categories of information. The yet-to-be identified trade secrets
ostensibly relate to these categories.

A simple example is illustrative: Plaintiff alleges that Defendants somehow
misappropriated its trade secrets, which includes all of the Proprietary Information. The
Proprietary Information is defined to include software. Therefore, according to the Complaint,
Defendants allegedly have misappropriated some type of software. In its twenty-three pages, the
Complaint says nothing about this software. Plaintiff does not identify the software by name or
type. Likewise, Plaintiff makes no allegations about where, when or how the software allegedly
was misappropriated. Plaintiff says nothing about the software at all. The same can be said for
many of the other categories of information that Plaintiff has attempted to pass off as trade
secrets. In short, there are no allegations about actual, specific, discrete formulas, practices,
designs, instruments, patterns, processes or compilations of information. There are no
allegations about specific trade secrets whatsoever. And there are no allegations about the actual

misappropriation beyond those that are pled in the most conclusory terms.

' These facts are taken from the Complaint.
Case 2:13-cv-00352-JES-CM Document 23 Filed 07/11/13 Page 3 of 11 PagelD 180

The Complaint fails to state a claim for misappropriation and breach of contract. The
remaining causes of action are entirely derivative of the misappropriation claim, and are
therefore preempted. As a result, the Court should dismiss the Complaint in its entirety.

STANDARD

Rule 8(a) of the Federal Rules of Civil Procedure requires that a complaint contain a
"short and plain statement of the claims" that will "give the defendant fair notice of what the...
claim is and the ground upon which it rests." Fed. R. Civ. P. 8(a); Bell Atlantic v. Twombly, 550
U.S. 544, 555 (2007). The allegations contained in the Complaint, particularly those regarding
the alleged misappropriation of certain unspecified trade secrets, are so vague that Defendants
have not been given fair notice as to the nature of Plaintiff's claims. See Twombly at 558
(suggesting a complaint does not satisfy Rule 8 where conclusory allegations leave a defendant
with “little idea where to begin” in mounting a defense).

Unless Plaintiff's claims are dismissed, or the Court orders Plaintiff to allege the specific
trade secrets at issue, Defendants will become the subject of a costly, and possibly crippling
discovery phase. As it stands, based on the allegations in the Complaint, Plaintiff would be able
to embark on a fishing expedition for anything related to software, statistics, product
information, marketing strategies and the like, without ever specifying the actual trade secrets
that allegedly have been misappropriated. The Supreme Court addressed very similar concerns
in Twombly. Id.

Although Plaintiff makes a few conclusory statements about Defendants
misappropriating its trade secrets and causing it damages, these statements are no more specific
than the “few stray statements” that the 7iwombl/y Court found to be “mere legal conclusions.”

Twombly, Id. at 564. Nowhere does Plaintiff allege any specific use of any specific information,
Case 2:13-cv-00352-JES-CM Document 23 Filed 07/11/13 Page 4 of 11 PagelD 181

or any specific consequence arising from such use. Under the applicable pleading standard, the
Complaint should be dismissed.
ARGUMENT

The Complaint fails to state a claim. Plaintiff essentially alleges that Defendants have
misappropriated its confidential information and trade secrets. Through twenty-three pages of
allegations, Plaintiff fails to state (1) what specific, discrete things, information or trade secrets
were taken (2) the actual circumstances of the misappropriation (3) what Defendants allegedly
are doing with those alleged trade secrets and (4) how Plaintiff has been damaged.

Plaintiffs entire Complaint should be dismissed. Each claim in the Complaint is built on
the alleged misappropriation of unspecified trade secrets. Each claim should be dismissed for
failure to state a claim. Additionally, the Florida Deceptive & Unfair Trade Practices Act claim
and the tortious interference claims are entirely derivative of the misappropriation claim and

should be dismissed as preempted by the Florida Uniform Trade Secrets Act.

I. Plaintiff's Misappropriation of Trade Secrets Claim is Factually Deficient.

The Complaint does not allege sufficient facts to state a claim for misappropriation of trade
secrets. Under the Florida Uniform Trade Secrets Act (“FUTSA”), Fla. Stat. § 688.001 et seq., a
plaintiff must first allege the existence of a trade secret. A trade secret is defined as information
that: (1) derives economic value from not being readily ascertainable by others, and (2) is the
subject of reasonable efforts to maintain its secrecy. /d. “A plaintiff has the burden to describe

the alleged trade secret with reasonable particularity.” Treco Intern. S.A. v. Kromka, 706

F.Supp.2d 1283, 1286 (S.D.Fla. 2010). The plaintiff must then allege that the defendant has
Case 2:13-cv-00352-JES-CM Document 23 Filed 07/11/13 Page 5 of 11 PagelD 182

improperly acquired or disclosed that trade secret. Fla. Stat. § 688.002. Here, the Complaint

fails to satisfy both the trade secret and misappropriation prongs of this test.

A. Plaintiff Has Not Identified the Trade Secrets at Issue

The plaintiff in a misappropriation case bears the burden of plausibly alleging that the
specific information — or thing - at issue constitutes a trade secret. See, e.g., American Red Cross
v. Palm Beach Blood Bank, Inc., 143 F.3d 1407, 1410 (1 Ith Cir.1998) (“In a trade secret action,
the plaintiff bears the burden of demonstrating both that the specific information it seeks to
protect is secret and that it has taken reasonable steps to protect this secrecy.”). Here, Plaintiff
has failed to satisfy that burden.

In sweeping fashion, the Complaint alleges, “AMERICAN REGISTRY’S Proprietary
Information constitutes trade secrets . . .”” Complaint at § 56. At various places throughout the
Complaint, Plaintiff defines the Proprietary Information as including, but not limited to:

[C]ustomer lists, customer identity, purchase and credit information, sales and operation
procedures of AMERICAN REGISTRY, software of AMERICAN REGISTRY, system
architecture of AMERICAN REGISTRY, financial data of AMERICAN REGISTRY,
sales and marketing strategies and data of AMERICAN REGISTRY, lists compiled by
AMERICAN REGISTRY, statistics, programs, research, development, employee,
personnel and contractor data, information and records and information relating to
products offered by AMERICAN REGISTRY.
Complaint at 451. This Proprietary Information — all of it — allegedly constitutes the trade
secrets. But this is not a list of actual trade secrets. This is a list of different categories of
information. Allegations regarding different categories of supposedly proprietary information
are insufficient because they do not identify any specific trade secrets at issue. Vague allegations

of the type contained in the Complaint do not state a claim for misappropriation of trade secrets.

See Clearline Technologies Ltd. v. Cooper B-Line, Inc., 2012 WL 43366, at * 11 (S.D. Tex. Jan.
Case 2:13-cv-00352-JES-CM Document 23 Filed 07/11/13 Page 6 of 11 PagelD 183

9, 2012) (dismissing misappropriation claim where the alleged trade secrets consisted of
“technical and financial information”); E. W., LLC v. Rahman, 873 F. Supp. 2d 721, 735-36
(E.D. Va. 2012) (dismissing misappropriation claim where alleged trade secrets consisted of
“business methods, and other company sensitive information”); Al/ Bus. Solutions, Inc. v.
NationsLine, Inc., 629 F.Supp.2d 553, 558-59 (W.D.Va.2009) (dismissing misappropriation
claim consisting of conclusory allegations that the defendant misappropriated customer names
and confidential information); Swiss Watch Int'l, Inc. v. Movado Grp., Inc., 2001 WL 36270980,
at * 3 (S.D. Fla. June 21, 2001) (dismissing misappropriation claim where the alleged trade
secrets consisted of “customer lists” and “operational techniques and processes" and holding that
these allegations were “too vague to support a claim for misappropriation” and failed to “place

[Defendant] on notice of the claims” against it).

B. Plaintiff Has Not Alleged Any Facts Regarding the Actual Misappropriation

The Complaint also fails to allege the actual misappropriation in anything but the most
conclusory terms. The gravamen of the misappropriation claim is that Hanaw acquired
proprietary information during his time at American Registry and is now using that information
in connection with his new venture, Showmark. Complaint at J § 25-28. The Complaint
contains no specific allegations regarding any acts of affirmative misappropriation, use or
disclosure by the Defendants. Rather, the Complaint merely parrots the language of the FUTSA,
repeatedly alleging, in the most general terms, that Defendants “misappropriated”, “acquired”,
“used” or “disclosed” the alleged trade secrets. The Complaint is built on “labels and
conclusions”, formulaic recitations of the elements of various causes of action and “naked

assertions” of the type that the Supreme Court has repeatedly deemed insufficient. See
Case 2:13-cv-00352-JES-CM Document 23 Filed 07/11/13 Page 7 of 11 PagelD 184

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (discussing Twombly).

II. Plaintiff's Remaining Claims are Preempted by the FUTSA

Plaintiff's Florida Deceptive and Unfair Trade Practices Act (““FDUTPA”) claim and tortious
interference claims should be dismissed as preempted by the FUTSA. The FUTSA displaces
other tort and statutory claims to the extent those claims are based on misappropriation of trade
secrets. Fla. Stat. §688.008 (2012). Both the FDUTPA claim and tortious interference claims

are entirely derivative of the misappropriation claim and must be dismissed.

A. The FDUTPA Claim is Preempted by the FUTSA

Plaintiff's claim under Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”) is
based entirely on the alleged misappropriation of trade secrets and is preempted by the FUTSA.
According to the Complaint:

Defendants’ deceptive and unfair trade practice was their collective utilization of trade
secrets and Proprietary Information that HANA W wrongfully misappropriated from
AMERICAN REGISTRY for SHOWMARK MEDIA and its benefit and to the detriment
of AMERICAN REGISTRY.
Complaint at | 69. The Complaint speaks for itself. Plaintiff has alleged a single deceptive and
unfair trade practice: misappropriation. The claim does not allege any other potentially

actionable conduct by Defendants. As a result, the claim is built solely on the alleged

misappropriation and is preempted by the FUTSA. See Allegiance Healthcare Corp. v.

* Defendants cede that the standard for alleging a breach of contract claim is more lenient than the standard for
alleging a violation of the FUTSA. Defendants move to dismiss the breach of contract claim for the same reasons
articulated above: The claim is plead in vague, conclusory terms and does not satisfy Rule 8. That said, Defendants
can offer little more in terms of an argument for dismissal at this stage in the case. It bears noting, however, that the
agreements filed with the Complaint as exhibits A and B clearly do not bear the signature of Defendant Yonah
Hanaw.
Case 2:13-cv-00352-JES-CM Document 23 Filed 07/11/13 Page 8 of 11 PagelD 185

Coleman, 232 F. Supp. 2d 1329, 1336 (S.D. Fla. 2002) (“Plaintiff has not identified any material
distinction between the wrongdoing alleged in the trade secret claim and that alleged in the
unfair competition claim. Accordingly, the unfair competition claim must be dismissed.”).
Accord Chatterbox, LLC v. Pulsar Ecoproducts, LLC, 2007 WL 1388183, *5 (D. Idaho May 9,
2007) (dismissing unfair competition claim as preempted under state version of UTSA);
AirDefense, Inc. v. AirTight Networks, Inc., 2006 WL 2092053, at *5 (N.D. Cal. July 26, 2006)
(same); Glasstech, Inc. v. TGL Tempering Sys., Inc., 50 F. Supp. 2d 722, 732 (N.D. Ohio 1999)
(same). Cf Allegiance Healthcare Corp. v. Coleman, 232 F. Supp. 2d 1329, 1336 (S.D. Fla.
2002) (holding FDUTPA claim not preempted but noting, “([I]f the allegations of trade secret
misappropriation alone comprise the underlying wrong, only the FUTSA claim will survive the

motion to dismiss.”).

B. Plaintiff's Tortious Interference Claims are Preempted by the FUTSA

As with Plaintiffs FDUTPA claim, both of Plaintiffs tortious interference claims are wholly
derivative of the misappropriation claim and are preempted by the FUTSA. Under Florida law, a
plaintiff alleging a claim for tortious interference must allege (1) the existence of a business
relationship; (2) the defendant's knowledge of that relationship; (3) an intentional and unjustified
interference with the relationship by the defendant; and (4) that the aggrieved party was damaged
as a result of the defendant's interference. Boldstar Technical, LLC v. Home Depot, Inc., 517 F.
Supp. 2d 1283, 1288 (S.D. Fla. 2007). The third element, “unjustified interference”, is the
tortious conduct. Florida courts have defined this “unjustified interference” or “improper

conduct” as including “physical violence, misrepresentations, illegal conduct, threats of illegal
Case 2:13-cv-00352-JES-CM Document 23 Filed 07/11/13 Page 9 of 11 PagelD 186

conduct, or other improper conduct.” /d. Where a plaintiff does not allege the use of such
improper conduct, the complaint should be dismissed. /d.

The Complaint advances two theories of tortious interference: The first theory suggests that
all of the Defendants are tortuously interfering with American Registry’s relationships with its
customers by stealing American Registry’s trade secrets and competing for those customers.
Complaint at 9{ 73-79. The second theory suggests that the Showmark entities and Levy have
interfered with American Registry’s relationship with Hanaw by inducing Hanaw to disclose or
assisting Hanaw in disclosing (e.g. misappropriating) the trade secrets. Jd. at {J 82-84. Each
theory is based on the alleged misappropriation of trade secrets.

A tortious interference claim can only survive UTSA preemption “to the extent that it alleges
wrongful conduct independent of any alleged unauthorized use of information, provided that the
independent allegations are sufficient to plead all elements of the claim.” Wilcox Indus. Corp. v.
Hansen, 870 F. Supp. 2d 296, 304 (D.N.H. 2012) (discussing preemption of tort claims under
state UTSA). In this case, without the allegations of misappropriation, Plaintiff has no claim.
Absent the alleged misappropriation, Plaintiff's grievance, essentially, is that Defendants are
competing for the same customers. This is not actionable.

As here, where a plaintiff's tortious interference claims are based solely on allegations of
misappropriation, courts routinely dismiss the claims as preempted by their state’s version of the
UTSA. See, e.g., Int'l Paper Co. v. Stuit, 2012 WL 1857143, *8 (W.D. Wash. May 21, 2012)
(dismissing tortious interference claims as preempted by state UTSA where claims were based
upon alleged misappropriation); 7.D.£ Int'l, Inc. v. Golf Preservations, Inc., 2008 WL 294531, at

*6 (E.D. Ky. Jan. 31, 2008) (same); Leatt Corp. v. Innovative Safety Tech., LLC, 2010 WL
Case 2:13-cv-00352-JES-CM Document 23 Filed 07/11/13 Page 10 of 11 PagelD 187

2803947, at *7 (S.D. Cal. July 15, 2010) (dismissing tortious interference claims as preempted
by state UTSA to the extent claims were based upon alleged misappropriation).

To the extent the Court finds Plaintiff's tortious interference claims are not preempted by the
FUTSA, Count IV still fails because the claim fails to adequately allege the existence of a
business relationship. As pled, the Complaint merely alleges that Plaintiff had business
relationships with customers, generally. Allegations about business relationships with the public
at large, instead of with “identifiable customers” are insufficient for tortious interference. See
Coach Servs., Inc. v. 777 Lucky Accessories, Inc., 752 F. Supp. 2d 1271, 1273 (S.D. Fla. 2010)
(citing Jgbal and dismissing tortious interference claim where plaintiff alleged business
relationship with “various customers”).

Further, the Complaint has failed to allege any business dealings or agreements that “would
have been completed if the defendant had not interfered.” Ethan Allen, Inc. v. Georgetown
Manor, Inc., 647 So. 2d 812, 815 (Fla. 1994). In short, Plaintiff has alleged, in the most general
terms, that Plaintiff would have gained some economic advantage if Defendants had not
interfered in its general business and customer relationships. These allegations do not state a
claim for tortious interference. See In re Photochromic Lens Antitrust Litig., 2011 WL 4914997,
at *4 (M.D. Fla. Oct. 14, 2011) (dismissing tortious interference claim based on allegation that
plaintiff “would have realized its economic advantage and benefit by entering into agreements
with specialty retailers, mass merchants, and retail and wholesale ophthalmic lens laboratories”).

As aresult, Count IV is facially insufficient and should be dismissed.

10
Case 2:13-cv-00352-JES-CM Document 23 Filed 07/11/13 Page 11 of 11 PagelD 188

CONCLUSION

For the foregoing reasons, Defendants Hanaw, Showmark Holdings, LLC, and

Showmark Media, LLC respectfully request that this Court dismiss Plaintiff's Second Amended

Complaint.

Dated: July 11, 2013

Respectfully submitted,

By: s/ Jonathan Pollard
Jonathan E. Pollard

Florida Bar No. 83613
Jonathan Pollard, LLC

401 E. Las Olas Blvd #1400
Fort Lauderdale, FL 33301
Telephone: (954) 332-2380
Facsimile: (866) 594-5731
jpollard@pollardllc.com

Attorney for Defendants

CERTIFICATE OF SERVICE

I hereby certify that on July 11, 2013 a true and correct copy of the foregoing was served

on American Registry, LLC via email to:

Berk Edwards - Berk@swfltrial.com

s/ Jonathan E, Pollard
Jonathan E. Pollard

11
